444 F.2d 1055
    Robert Edward LIPSCOMB, Petitioner-Appellant,v.The WARDEN et al., UNITED STATES PENITENTIARY, ATLANTA,GEORGIA,Respondents-Appellees.No. 71-1692 Summary Calendar.**Rule 18, 5 Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431 F.2d 409.
    United States Court of Appeals, Fifth Circuit.
    July 12, 1971, Rehearing and Rehearing En Banc Denied Sept. 29, 1971.
    
      Robert E. Lipscomb, (pro se).
      John W. Stokes, Jr., U.S. Atty., E. Ray Taylor, Jr., Asst. U.S. Atty., Atlanta, Ga., for appellee.
      Appeal from the united States District Court for the Northern District of Georgia; Sidney O. Smith, Jr., Judge.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      1
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
    
    PER DURIAM:
    
      2
      The Petition for rehearing is denied and no member of this panel nor Judge in regular active service on the Court having requested that the Court be polled on rehearing en banc, (Rule 35 Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 12) the Petition for Rehearing En Banc is denied.
    
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    